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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ERIC MARTIN,                      )
                                  )
    Plaintiff,                    )
                                  )
    v.                            )                     Case No. 4:14-cv-116
                                  )
NORTHSTAR LOCATION SERVICES, LLC, )
                                  )
    Defendant.                    )

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, ERIC MARTIN, through his attorneys, Agruss Law Firm, LLC, and pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses this case, with prejudice,

against Defendant, NORTHSTAR LOCATION SERVICES, LLC.

                                      RESPECTFULLY SUBMITTED,


April 8, 2014                         By:_/s/ Michael S. Agruss_____
                                             Michael S. Agruss
                                             Agruss Law Firm, LLC
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                                             Chicago, IL 60602
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                                             Attorney for Plaintiff


                                CERTIFICATE OF SERVICE

        On April 8, 2014, I electronically filed the Voluntary Dismissal with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of this filed document to Defendant’s
counsel, Linda Leising, at lleising@northstarlocation.com.

                                      By:_/s/ Michael S. Agruss_____
                                             Michael S. Agruss
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